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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


           -against-                       Case No.: 1:23-cr-00251-AKH


CHARLIE JAVICE and OLIVIER AMAR,

                  Defendants.




         MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
          CHARLIE JAVICE’S MOTION TO SEVER HER TRIAL
               FROM CO-DEFENDANT OLIVIER AMAR
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       Defendant Charlie Javice respectfully submits this memorandum of law in support of her

motion to sever her trial from that of her co-defendant Olivier Amar under Rule 14(a) of the Federal

Rules of Criminal Procedure. Ms. Javice’s counsel has conferred with Mr. Amar’s counsel who

does not oppose this motion. The government opposes this motion, and has stated it will request a

briefing schedule after reviewing the motion.

                                        BACKGROUND

       Defendant Ms. Javice was charged by criminal complaint on March 31, 2023. ECF No. 1.

The superseding indictment in this case, charging Ms. Javice and Mr. Amar, was filed on July 12,

2023. ECF No. 27. Ms. Javice has diligently pursued her defense since that time, alongside Mr.

Amar and his team,




                                                                    .1




                                      Decl. of D. Siegal at ¶4.




1
   Ms. Javice submits herewith the Declaration of David M. Siegal. Information contained in that
declaration (and referenced in this Motion) that would reveal defense strategy is redacted in this
submission, and Ms. Javice requests that the Court consider them ex parte in connection with this
request. Counsel for Ms. Javice is willing to provide a further proffer of her defense to the Court
ex parte in camera at the Court’s request.
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overcomes the baseline interest in the “economy and efficiency” of joint trials. Zafiro, 506 U.S.

at 540.

          In assessing prejudice to a defendant, courts must consider, among other factors,




                                                         See United States v. Gallo, 668 F. Supp.

736, 749 (E.D.N.Y. 1987) (granting severance). The crux of the decision to sever is “whether the

jury would be ‘reasonably able’ to consider the evidence as to each defendant separately,

independent of the evidence against his or her coconspirators.” Id. (quotations in original).



                           Accordingly, and as set forth below, all of the relevant considerations

support severance under Rule 14.

          B.     Severance Is Required Because


          Ms. Javice denies that she made any material, intentional misrepresentations to JPMC (or

anyone else), and will so argue at trial. See Decl. of D. Siegal at ¶4.




                  See Decl. of D. Siegal at ¶5. The circumstances here are not solely




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                                                                                        (granting

severance).

       The reason for severance




                                                      (granting defendants’ severance motions two

months before the start of trial) (emphasis added).

       Here, Ms. Javice’s defense




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       Absent severance, Ms. Javice would be placed in the impossible position



                                                                                      This

concern is far from theoretical.




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                      See Decl. of D. Siegal at ¶5.




                                                                                    See Decl. of

D. Siegal at ¶6. Ms. Javice now occupies the untenable position of




                   Such a




                                                                           The prejudice against

Ms. Javice in this circumstance is particularly acute because




       Moreover, the prejudice extends beyond Ms. Javice to Mr. Amar.




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       C.      A Joint Trial Will Present Extensive Evidentiary Obstacles, Including
                                     Problems

               1.      General Evidentiary Problems




        See Decl. of D. Siegal at ¶6.




                                 “It is, of course, well established as a fundamental matter of due

process that the defendant in a criminal case has the right to present a defense, that is, to present

to the jury admissible evidence that might influence the determination of guilt.” Cotto v. Herbert,

316 F.3d 198, 205–06 (2d Cir. 2003).




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               2.      Lack of Disclosure

       Should Ms. Javice be forced to proceed to trial alongside Mr. Amar




                                                                                       See

Decl. of D. Siegal at ¶6.




               3.

       As an additional concern, the Government’s §3500 material revealed




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                                         See Decl. of D. Siegal at ¶5.3




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           This provides yet another reason why severance is the only solution now.

              4.       Limiting Instructions Will Not Adequately Protect Ms. Javice’s Rights

       Limiting instructions will not adequately protect Ms. Javice against unconstitutional

prejudice. See Bruton, 391 U.S. at 137.




       In addition,




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II.     JUDICIAL ECONOMY PRINCIPLES DO NOT JUSTIFY DENIAL OF
        SEVERANCE

        While the prospect of two trials might raise a concern of a lack of judicial economy and

efficiency in the administration of justice, in this particular case, that concern is outweighed by the

additional burdens on the same principles. Indeed, the government’s own exhibit and witness lists

suggest that

                                                     And two separate trials might actually take less

time to litigate than one joint trial here,



        In a joint trial, Ms. Javice would need to

                    , which would both slow the proceedings and unfairly prejudice her in the eyes of

the jury.




        In short,                                                                                , and

separate trials may require less in the way of Court resources, when tallied together, than one trial

of the complexity                                            .

                        REQUEST FOR EXPEDITED CONSIDERATION

        Ms. Javice is filing this Motion within days of learning of

                          . Ms. Javice respectfully requests that the Court expedite its consideration

of and ruling on this Motion, given the pending pre-trial deadlines in this case and that trial is set




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for February 10, 2025, one month from today. Ms. Javice respectfully requests an expedited

briefing schedule that allows for argument on the Motion no later than January 17, 2025.

                                        CONCLUSION

       For all these reasons, the Court should sever Ms. Javice’s and Mr. Amar’s trials.



                            [Remainder of page intentionally blank.]




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      Respectfully submitted,

DATED: January 10, 2024

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2025, I caused a copy of the foregoing document to be

served via ECF on counsel of record.



                                                    By: /s/ Sara C. Clark




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